Case 18-11634-JDW     Doc 37   Filed 09/11/18 Entered 09/11/18 16:12:47        Desc Main
                               Document     Page 1 of 2


_________________________________________________________________________________

                                              SO ORDERED,



                                              Judge Jason D. Woodard
                                              United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________



             IN THE UNITED STATES BANKRUPTCY COURT FOR
                 THE NORTHERN DISTRICT OF MISSISSIPPI


IN THE MATTER OF:                                       CHAPTER 13 CASE NO.:

ARTHADIUS LA-EARL DUDLEY                                18-11634-JDW

                       AGREED ORDER OVERRULING
                   OBJECTION TO CONFIRMATION (Dkt. #22)

      THIS CAUSE came to be heard on the Objection to Confirmation (Dkt. #22)

(the “Objection”) filed by Locke D. Barkley, Chapter 13 Trustee (the “Trustee”) and

the Court having been advised that the parties have reached an agreement with

respect to the Objection and that they desire to memorialize their agreement in this

Agreed Order, and being otherwise advised in the premises, the Court is of the

opinion that the agreement of the parties is appropriate and should be set forth

herein. The Court does hereby order and adjudicate as follows:

      1.     The Objection shall be and is hereby overruled.

      2.     The plan payment shall be set at $554.00 per month.
Case 18-11634-JDW     Doc 37   Filed 09/11/18 Entered 09/11/18 16:12:47        Desc Main
                               Document     Page 2 of 2


      3.     Section 5.1 of the Debtor’s Chapter 13 Plan (Dkt. #9) shall be and is

hereby amended to provide that nonpriority unsecured claims will be paid pro-rata

“the funds remaining after disbursements have been made to all other creditors

provided for in the plan.”

      4.     The terms of this Agreed Order shall be applicable to any amended

plan filed herein by Debtor.

                               ##END OF ORDER##

AGREED & APPROVED:

/s/ W. Jeffrey Collier
W. JEFFREY COLLIER – MSB#10645
ATTORNEY FOR TRUSTEE

/s/ Robert H. Lomenick
ROBERT H. LOMENICK
ATTORNEY FOR DEBTOR




                                                             Prepared by:
                                                             W. Jeffrey Collier, Esq.
                                                             Attorney for Trustee
                                                             6360 I-55 North, Suite 140
                                                             Jackson, Miss. 39211
                                                             (601) 355-6661
                                                             ssmith@barkley13.com
                                                             MSB No. 10645
